Case 18-30703 Document 8 Filed in TXSB on 03/07/18 Page 1 of 18

Fill in this information to identify the ¢'asé

 

Debtor name TJ K Enterprises, lnc.

United States Bankruptcy Court for the: SOUTHEHN D{$TH|CT OF TEXAS

Case number 18-30703 m Check if this is an

t k
(\ nown) amended ntng

 

 

Officiaf Form ZOBA/B

Schedute A/B: Assets -- Ftea| and Personal Property 12/15
W
Disctose all property, real and personal, which the debtor owns or in which the debtor has any other iegal, equitable, or future

interest include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also

include assets and properties which have no book value, such as fully depreciated assets or assets that were not capitalized.

|n Schedu|e A/B, list any executory contracts or unexpired leases. Atso list them on Schedul'e G: Executory Contracts and

Unexpired Leases (Offtciat l’-'orm 2066).

Be as complete and accurate as posslbte. lt more space ls needed, attach a separate sheet to this form. At the top of any
pages added, write the debtor's name and case number (if known). Aiso identify the form and tlne number to which the
additional information applies if an additional sheet ls attached, inctude the amounts from the attachment ln the total for the
pertinent part.

For Part t through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the details for each asset tn a particular category. Llst each asset
only once. ln valuing the debtor's interest, do not deduct the value of secured claims. See the instructions to understand the
terms used in this form.

m Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

g No. Go to Part 2.
Yes. Fitl in the information betow.

 

A|| cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

2. Cash on hand

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

Narne of institution (bank or brokerage firm) `l'ype of account Last 4 digits of
account number

3.1. Bank ofAmerica
savings account Savings account __t_i_ l l l $0.00

3.2. Bank of America
checking account Checidng account __8_ _;I__ i l $0.00

4. Other cash equivalents (identify alt)

Narne ot institution (banit or brokerage firm)

 

5. Tota| of Part 1
Add lines 2 through 4 (inc|uding amounts on any additional sheets). Copy the total to line 80.

m Deposits and prepayments

6. Does the debtor have any deposits or prepayments"?

$O.DO

 

 

 

M No. Go to Part 3.
f_"_] Yes. Fitl in the information beiow.

Off§cial Fonn 206A/B Schedule A/B: Assets -- Fteal and Personal Property page 1

 

 

 

 

Case 18-30703 Document 8 Fiied in TXSB on 03/07/18 Page 2 of 18

§Jebtor TJK EnterpriSeS, inc. Case number (if known) 18-30703

Name

 

Current value of
debtor's interest
7. Deposits, including security deposits and utility deposits
Description, including name of hoider of deposit
8. Prepayments, including prepayments on executory contracts, leases, lnsurance, taxes, and rent

Description, including name of holder of prepayment

 

9. Toial of Part 2.
Add lines 7 through 8. Copy the totaf to line B'i.

Accounts receivable

10. Does the debtor have any accounts receivable?

$0.00

 

 

 

M No. Goto Part 4.
[] Yes. Fiii in the information beiowt

Current vaiue of

debtor‘s interest
11. Accounts receivable

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

tia. 90 days old or iess: $0.00 - $0.00 m ______________ 9 $0.00
face amount doubtqu or uncotiectib|e accounts
11a Overso days old: $0.00 - $0.00 = .............. 9 $0.00
face amount doubtqu or unco§iectibie accounts ‘
12. Totai of Part 3 0
Current value on lines ila + itb = line 12. Copy the total to line 82. $0' o
m investments
13. Does the debtor own any |nvestments?
jj No. Go to Part 5.
Yes. Fili in the information beiow.
Valuation method Current value of
used for current value debtor‘s interest
14. iiiiutuai funds or pubiiciy traded stocks not included in Part 1
i\lame of fund or stocks
15. Non-publlcly traded stock and interests in incorporated and unincorporated
businesses, including any interest in an LLC, partnership, or joint venture
blame of entity: % of ownership:
15_1, investment in TJK interest, LLC (owned by 'i'JK
Enterprised LLC) 99% ($100,475.02}
15.2. investment in TJKSF Management, LLC (owned by
TJK Enterprises LLC) 100% $308.10
t5.3. investment in Spring Fitness t LLC (0wned by TJK
interest LLC) 100% $3,228.25
15_4_ investment in Spring Fitness ill LLC (cwned by
TJK lnterest, LLC) 100% ($332.32)
15.5. investment in Spring Fitness iV LLC (owned by
TJK interest LLC) _ 100% $84,475.50

 

Officia| Fonn 206A/B Schedule AIB: Assets ~ Fteal and Personal Property page 2

 

Case 18-30703 Document 8 Fiied in TXSB on 03/07/18 Page 3 01 18

 

 

 

 

 

 

 

 

 

 

 

 

 

Debior TJK Enisrprises, lnc. case number rif known 18-30703
Name
16. Governrnent bonds, corporate bonds, and other negotiable and
non-negotiable instruments not included in Part 1
Describe:
17. Totai of Part 4 795 49
Add iines t4 through 16. Copy the total to line 83. - .m.m_($B’_-__-)_
m lnventory, exciuding agriculture assets
18. Does the debtor own any inventory (exciuding agriculture assets)?

M No. Go to Part b`.

m \res. Fiii in the information beiow.

Generai description Date of the Net book value of Vaiuation method Current value of
last physical debtor's interest used tor current value debtor's interest
inventory (Where availabie)

19. Raw materials iV|lVi/DD[YYYY
20. Wori< in progress
21. Finished goods, including goods held for resaie
22. Other inventory or supplies
23. Totai of Part 5 0
Add lines 19 through 22. Copy the total to line 84. $o' o
24. is any ot the property listed in Part 5 perishabie?
No
['J Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was ii|ed?
No
E Yes. Booic value Vaiuatlon method Current value
26. l-ias any of the property listed in Part 5 been appraised by a professional within the last year?
g No
n Yes
D Farming and tishing-reiated assets (other than titled motor vehicles and iand)
27. Does the debtor own or lease any farming or fishing-related assets (other than titled motor vehicles and iand)?

M No. Go to Part 7.

m Yes. Fiii in the information beiow.

Generai description Net book value of Valuatlon method Current value of

debtor's interest used for current value debtor's interest
(Where availabie)

28. Crops--either planted or harvested

29. Farm animals Exampies: Livestoci<, pouitry. farm-raised fish

30. Farm machinery and equipment (Oiher than titled motor vehicles)

31. Farm and fishing supplies, chemica|s, and feed

32. Other farming and fishing-related property not already listed in Part 6

33. Totai ot Part 6. 00

Add lines 28 through 32. Copy the total to line 85. $o`

 

 

Officiai Form ZOGAIB Scheduie A/B: Assets -- Fieai and Personal Property page 3

 

 

 

 

Case 18-30703 Document 8 Fiied in TXSB on 03/07/18 Page 4 01 18

 

Debtor TJK Enterprises, inc. Case number (if known)
Name
34. is the debtor a member of an agricultural cooperative?

35.

36.

37.

38.

39.
40.
41.

42.

43.

44.

45.

46.

g No

g Yes. is any of the debtors property stored at the cooperative?
[_‘] No '
m Yes

Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was flied?
E No

18-30703

E‘_'| ¥es. Book value Vaiuation method Current vaiue

 

is a depreciation schedule available for any of the property listed in Part 6?

g No

g Yes

Has any of the property listed in Part 6 been appraised by a professional within the last year?
No

g Yes

Office furniture, iixtures, and equipment; and coilectibies

Does the debtor own or lease any office furniture, fixtures, equipment, or collectibies?

g No. Goto Part B.
m Yes. Fiil in the information beiow.

Generai description Net book value of Vaiuation method
debtor's interest used for current value

(Where availabie)
Office furniture

Oftice fixtures

Oftice equipment, inciuding ali computer equipment and
communication systems equipment and software

Cot|ectibies Exampies: Aniiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art obtects; china and crysiai; stamp, coin,
or baseball card cotleciions; other coiiections, memorabiiia, or coilectibles

Totai of Part 7.

Current value of
debtor's interest

 

 

 

 

 

Add nies 39 through 42. copy the total to ime as $°'°°
ls a depreciation schedule available for any of the property listed in Part 7?
M No
m Yes
Has any of the property iisted in Part 7 been appraised by a professional within the last year?
M No
ij Yes
Machinery, equipment, and vehicles
Does the debtor own or lease any machinery, equipment, or vehicles?
m No. Go to Part 9.
\:] Yes. Fiii in the information beiow.
Officiai Forrn 206AIB Scheduie AIB: Assets -~ Fieai and Personal Property page 4

 

 

Case 18-30703 Document 8 Fiied in TXSB on 03/07/18 Page 5 of 18

 

penny 'i'JK Enterprises, inc. Case number (if known) 18-30703
Name
General description _ Net book value of Vaiuation method Current value of
include_ye_ar, make, mode|, and identification numbers debtor's interest used for current value debtor's interest
(i.e., Vii\i, HiN, or N-number) (Where availabie)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

48. Watercraft, trailers, motors, and related accessories Exampies: Boats
irailers, motors, floating homes, personal watercraftl and fishing vessels

49. Alrcraft and accessories

50. Other machinery, fixtures, and equipment (exciuding farm
machinery and equipment)

 

 

 

 

 

 

 

 

51. Totai of Part B.
Add lines 47 through 50. Copy the total to line 87. $0`00
52. is a depreciation schedule available for any of the property listed in Part 8?
No
L'_] Yes
53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
M No
g Yes
m i=ieal property
54. Does the debtor own or lease any real property?
m No. Go to Part tO.
|:l Yes. Fi|i in the information beiow.
55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of property Nature and extent Net book value of Valuation method Current value of
include street address or other description of debtor's interest debtor's interest used for current debtor's interest
such as Assessor Parce| Number (APN), in property (Where availabie) value
and type of property (for exampie.
acreage, iactory, warehouse, apartment or
office building), if available
56. Totai of Part 9. 0 00
- Add the current value on lines 55.t through 55.6 and entries from any additional sheets. Copy the total to line 88. $ '
57. ls a depreciation schedule available for any of the property listed in Part 9?
M No
l:] Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
E]' No
m Yes
Part 10: intangibles and intellectual Property
59. Does the debtor have any interests in intangibles or intellectual property?
No. Go to Part 11.
g Yes. Fili in the information beiow.
Officiai Forrn 206AiB Scheduie A/B: Assets -- Fteal and Personal Property page 5

 

 

 

 

 

Case 18-30703 Document 8 Filed in TXSB on 03/07/18 Page 6 of 18

 

Debtor TJK Enterprises, inc. Case number (Ef known) 18-30703
Name
Generai description Net book value of Va|uation method Current value of
debtor's interest used for current value debtor's interest

60.
61.

62.
63.
64.
65.
66.

67.

68.

69.

(Where avaitabie)
Patents, copyrights, trademarks, and trade secrets

internet domain names and websites

Licenses, franchises, and royalties

Customer lists, mailing tists, or other compitations
Other intangibles, or intellectual property

Goodwl||

 

Totai of Part 10.

Add lines 60 through 65. Copy the total to line 89. $0'00

 

 

 

Do your lists or records include personally identifiable information ot customers (as defined tn 11 U.S.C. §§ t01(41A) and ‘iG?)?
No

g Yes

ls there an amortization or other similar schedufe available for any of the property listed in Part 10?

g No

|:| Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?

g No
]:i Yes

Part 11: 'Aii other assets

70.

71.

72.

73.
74.

75.

76.

_ 77.
78.

79.

Does the debtor own any other assets that have not yet been reported on this form?
include alt interests in executory contracts and unexpired leases not previously reported on this form.

g No. Go to Part12.
g Yes. i“-°itl in the information below.

Current value of
debtor's interest
Notes receivable

Descripticn (inciude name of obtigor)

Tax refunds and unused net operating losses (NOLs)

Description (for examp|e, federa|, state, |oca|)

interests in insurance policies or annuities

Causes of action against third parties (whether or not a lawsuit has been fited)

Other contingent and unliquidated claims or causes of action of every nature,
including counterclaims of the debtor and rights to set off claims

Trusts, equitable or future interests in property

Other property of any kind not already listed Examples: Season tickets, country club membership

 

Totai of Part '|1.

Add lines 71 through 77. Copy the total to line 90. $0'00

 

 

 

Has any of the property listed in Part 'li been appraised by a protessionat within the last year?

§ No
g Yes

Offrciai Form 206Aii3 Scheduie A/B: Assets -- Fieal and Personal Property page 6

 

 

 

 

 

 

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Debtor TJK Enterprises, inc.

Narne

m Summary

in Part 12 copy all of the totals from the earlier parts of the form.

80.

81.

82.

83.

84.

85.

BG.

87.

88.

89.

90.

91.

92.

Officiat Forrn ZOGNB

Type of property

Cash, cash equivalents, and financiai assets.
Copy line 5, Part 1.

Deposits and prepayments. Copy line 9, Part 2.

Accounts receivablel Copy line 12, Part 3.
investments Copyiine 17, Part 4.
inventory. Copy line 23, Part 5.

Farming and fishing-related assets.
Copy line 33, Part 6.

Office furniture, fixtures, and equipment;
and collectlb|es. Copy line 43, Part 7.

Machinery, equipment, and vehiclesl
Copy line 51, Part 8.

Ftea| property. Copy line 56, Part 9 .................................

intangibles and intellectual property.
Copy line 66, Part 10.

Ail other assets. Copy line 78, Part 11.

Total. Add lines 80 through 90 for each coiurnn. 91a.

Totai of ali property on Scheduie A/B. Ltnes Qta + 91b = 92

Current value of
personal property

$0.00

$0.00
$0.00

g$12,795.49)
$0.00

$0.00

$0.00

$0.00

............................... .}

$0.00

+__mtsss

Case number (if known}

Current value of
real property

 

 

$0.00

 

 

 

 

 

§$12,795.49!

 

+ srb.

 

$0.00

 

 

 

Scheduie A/B: Assets -- Fteal and Personal Property

18-30703

 

 

§$‘| 2,795.49§

 

 

page 7

 

 

Case 18-30703 Document 8 Fiied in TXSB on 03/07/18 Page 8 of 18

Fi|i in this information to identify the case:

Debior name TJK Enterprises, inc.

Urtlted Siates Bankruptcy Couri for lhe: SOUTHEF{N DlSTRlCT OF TEXAS
18-30703

 

 

g Check if this ts an
amended fliing

Case number
(if known)

Officiai Form 2060 .
Scheduie D: Creditors Who Have Ciaims Secured by Property

 

 

12/15

 

Ee as complete and accurate as possib|e.

i. Do any creditors have claims secured by debtor's property?

|;] No. Checl< this box and submit page 1 of this form to the court with debtor's other schedules Debtor has nothing else to report on this forrn.
M Yes. Fili in ali of the information beiow.

m List Creditor's Who Have Secured Ciaims

2. List in alphabetical order ali creditors who have secured claims. if a creditor has more
than one secured ciatm. tist the creditor separately for each ciaim.

 

2.1

Creditor's name

 

 

 

 

 

besc'ribe debtor's property that ls

 

 

 

 

 

Spirit of Texas Bank, SSB subject to a lien $30,192-53 $31,012»00
Creditor's mailing address Sprin§ Fimess W LLC equipment
PO B°x FB Describe the lien
Security Agreement
is the creditor an insider or related party?
Coilege Station TX 77841-5102 g No
Creditor's email address, if known m Yes
ls anyone else liable on this claim?
Date debt was incurred g NO
Last 4 digits of account ij Yes. Frli out Scheduie H: Codebtors (Officsal Forrn 206H)
number ...1......,,9:..,....5._._§__ As of the petition filing date, the claim is:
Do multiple creditors have an interest in Check an that apply'
the same property? ij Contingent
Ef i\io g Unliquidated
g Yes. specify each credrrcr, including mrs [| DiSputed
creditor, and its relative priority.
3. Totai of the dollar amounts from Part 1, Column A, including the amounts from the
Additiona| Page, if any. M
Oificiai Form 2060 Scheduie D: Creditors Who Have Claims Secured by Property page 1

 

 

Case 18-30703 Document 8 Fiied in TXSB on 03/07/18 Page 9 of 18

_Fi|t in this information to identify-the case:

 

Debtor TJK Enterprises, inc.

 

Uniied States Bankruptcy Couri for ihe: SOUTHERN DlSTFthT OF TEXAS

Case number 18-30703

[;[ Check if this is an

 

(lf known)

amended fiiing

 

Officiai Form 206E/F

Scheduie E/F: Creditors Who i-iave Unsecured Clalms

12/15

 

Be as complete and accurate as possible Use Part 1 for creditors with PFiiORlTY unsecured claims and Part 2 for creditors with
NONPRIOR|TY unsecured ciaims. List the other party to any executory contracts or unexpired leases that croutd result in a claim.
A|so list executory contracts on Scheduie A/B:Assets - Real and Personal Property (Oi'ficial Form 206A/B) and on Scheduie G:
Executory Contracfs and Unexpired Leases (Otftcla| Form 206G). Number the entries in Parts 1 and 2 in the boxes on the iei't.

if more space is needed for Parti or Part 2, fill out and attach the Addltlonal Page of that Part included in this form.

List Ail creditors with PaloalTY unsecured claims
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 567).

m No. Goto Part 2.
g Yes. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or part.
if more space is needed for priority unsecured ciaims. fiii out and attach the Addiiionai Page of Part 1.

2.1 Prlorlty creditor's name and mailing address
Comptroiier of Public Accounts
PO Box 13528

 

 

 

Austii‘l ' TX 7871`| ~3528

Date or dates debt was incurred

 

Last 4 digits of account
number m m m

Speclfy Code subsection of PH|OFtlTY unsecured
clalm: ii U.S.C. § 507(3)( 8 )

Priority creditor's name and mailing address

Comptro||er of Public Accounts

Totai claim Priority amount
As of the petition filing date, the
claim is: Check all that epply.
Contingent

§ Uniiquidated

g Disputed

$511,324.0[] $511,324.00

 

Basis for the ciaim:
State sales tax audit

 

 

PO BOX 13528

 

 

 

Austin TX 78711-3528

Date or dates debt was incurred

 

i_ast 4 digits ot account

number _ __ _

Speclfy Code subsection of PFt|ORiTY unsecured
ciaim: 11 U.S.C. § 507(3)( 8 )

Official Form ZOSEIF

Scheduie EIF: Creditors Who itave Unsecured Clalms

is the claim subiect to offset?

g No
ij Yes

As of the petition filing date, the
claim is: Check all that appiy.

[:] Contingent

m Unliquidated
m Disputed

$7,680.00 $7,680.00

 

Basis for the ciaim:
1/0`|/18 - 2/20/'18 `

 

is the claim subject to ottset?

g No
C] Yes

page 1

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 18-30703 Document 8 Fiied in TXSB on 03/07/18 Page 10 of 18
Debtor TJK Ei‘ltei‘pi’ises, lric. Case number (if known) 13~30703
~Addriicnal Page
Copy this page if more space is needed. Continue numbering the iines sequentially from the
previous page. if no additional Pi“ilOR|'l'Y creditors exist, do not fill outer submit this page. Totai claim Prlority amount
Priority creditor‘s name and mailing address As of the petition fiiing date, the $0_00 $0‘00
lmemal Revenue SEr.Vice claim is: Check ali that apply.
' Contingent
P.O. BOX 7346 m Un|iquidated
j:_‘] Disputed
Basis for the claim:
Philadeiphia PA 19101-7346 No“ce On|y
Date or dates debt was incurred
is the claim subject to ottset?
1 No
i_ast 4 digits of account Yes
number ___ _ _ _
Specify Code subsection of PFiiORlTY unsecured
clalm: 11 U.S.C. § 507{a){ 8 )
m Prlorlty creditor's name and mailing address As of the petition filing date, the $392_15 $392_15

lillontgomery County Tax Office
400 N. San Jacinto St.

 

 

Conroe TX 77301
Date or dates debt was incurred

 

Last 4 digits of account

weber 1 a s _L

Speclfy Code subsection of PFt|OFtiTV unsecured
ciaim: 11 U.S.C. § 507(a}( 8 )

foicia| Form ZUSEJ'F

claim is: Checir all that apply.

Contingent
|:| Unliquidated
|:| Disputed

Basis for the claim:

Taxes

is the claim subject to offset?

E] No
m Yes

Scheduie EIF: Creditors Who i-iave Unsecured Claims

 

page 2

 

 

 

 

Case 18-30703 Document 8 Fiied`in TXSB on 03/07/18 Page 11 of 18

Debtor 'i'JK Enterprises, inc.

List Ail creditors with uoNPnloniTY unsecured claims

Case number (if known)

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. if more space is needed for nonpriority unsecured

ciairns. fiii out and attach the Addiiionai Page of Part 2.

 

 

3.1 Nonpriorlty creditor's name and mailing address

 

 

Amertcan Express

 

PO BOX 650448

 

 

Da|ias TX 75265-0448
Date or dates debt was incurred

Last 4 digits of account number _0___ ___[_i”_ __§___

 

 

 

3.2 Nonpriorlty creditor's name and mailing address

 

Bank of America Credit Card
PO Box 15796

 

 

Wilmlngton DE 19886-5796

 

Date or dates debt was incurred

Last 4 digits of account number __9__ _'i_ l 1

 

 

 

3.3 Nonpriorlty creditor’s name and mailing address

 

BBVA Cornpass
3500 W Davis Ste 100

 

 

Conroe TX 77304
Date or dates debt was incurred

Last 4 digits ot account number __3_

 

3.4 Nonpriorlty creditor's name and mailing address

 

 

 

iiiieyer Knight & Wiliiams
81th Washington Ave, Ste 1000

 

 

Housto n TX 77007

 

Date or dates debt was incurred

Last 4 digits of account number

Offtcial Form ZiJSEi`F

As of the petition filing date, the claim is:

Check ali that appiy.
|:| Contingent

[:] Unliquidated
|:| Disputed

Basis for the clalm:
Credit Card

 

ls the claim subject to offset?

m No
E_'| Yes

l As ot the petition filing date, the claim is:

Check all that appiy.
j___| Contingent

g t_iniiquidated
jj Disputed

Basis for the claim:
Credit Card

is the claim subject to offset?

g No
g Yes

As of the petition filing date, the claim is:

Check all that apply
g Contingent

jj Uniiquidated
jj Disputed

Basis for the ctaim:
Loan

 

is the claim subject to offset?
No
j:] Yes

As of the petition filing date, the claim is:

Check all that appiy.
g Contingent

m Uniiquidated
|:] Disputed

Basis for the claim:

 

is the claim subject to offset?

g No
m Yes

Scheduie E/F: Creditors Who i-|ave Unsecured Claims

Amount of claim

$7,232.16

$30,084.70

$7,437.44

$7,977.28

page 3

 

 

Case 18-30703 Document 8 Filed in TXSB on 03/07/18 Page 12 of 18

Debtor TJK Enterprises, inc.

j Addiiionei Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPR|OR|T¥ creditors exist, do not fiii out or submit this page.

 

 

3.5 Nonpriorlty creditor‘s name and mailing address

 

 

Santiif Enterprises-

 

PO Box 550825

 

 

 

Houston TX 77255
Date or dates debt was incurred

Last 4 digits of account number

 

 

 

3.6 Nonpriorlty creditor's name and maitlng address

 

Thomas Joseph Kennison
2724 Silverstone Way

As of the petition filing date, the claim is:

Check ai`i that appiy.
m Contingent

m Uniiquidated
[] Disputed

Basis for the ciaim:

Case number (if known)

 

 

 

 

is the claim subject to offset?

g No
L__| Yes

As of the petition filing date, the claim is: '

Check ali that app!y.
l:] Contingent
[:] Uniiquidated

 

 

m Disputed
Basis for the claim:

Conroe TX 77304

Date or dates debt was incurred |S the Claim Subiect 10 01`\`3€1?
No

Last4 digits of account number ____ ___ _w_ w m Yes

Oificiai Form ZOSE/F . Scheduie EIF: Creditors Who Have Unsecured Ciaims

18-30703

Amount of claim

$6,000.00

$195,576.33

page 4

 

Case 18-30703 Document 8 Fl|ed in TXSB on 03/07/18 Page 13 of 18

Debtor TJK Entelp"$es» ln°- _ case number (ir knew 18-30703
m List Others to Be Notified About Unsecured Clalms

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors

it no others need to be notified for the debts listed |n Parts 1 and 2, do not fill outer submit this page. if additional pages
are needed, copy the next page.

 

 

 

Name and mailing address On which iine in Part 1 or Part 2 is the Last 4 digits ot
related creditor iii any) listed? account number,
if any
4.1 Attn: Jesse Vela Lin€ 2-1 _ _ ___ ___
Comptrolier of Public Accounts m Nu; ;;Sted. Exp;am;

1919 North Loop West

 

 

 

 

 

Houston TX 77008
4.2 Jay W. Hurst Line 2-1 __ _ _ _
AssistantAttomey General |:] Ngi§isied, Explain;

Bankruptcy & Co|lections Div
PO Box 12548
Austin “l“X 78711-2548

 

 

 

 

 

Officia| Form 2OSEIF Scheduie EIF'. Creditors Who Have Unsecured Claims page 5

 

Case 18-30703 Document 8 Fl|ed in TXSB on 03/07/18 Page 14 01 18

Debtor TJK Emerprisesi lnc- Case number (if known) 18-30703

' Totai Amounts of the Prlorlty and Nonpriorlty Unsecured Claims

 

5. Add the amounts of priority and nonpriority unsecured claims.

Totai ot claim amounts

 

 

 

5a Totai claims from Part 1 5a. $519,396.15

5b. Totai claims from Part 2 Sb. + $254,307.91

50. Totai of Parts 1 and 2 Sc. $773,704.06
i.ines 5a + 5b = 5c. """_"___“““““““

 

 

 

 

Ofticlal l-"orm 206E/F Scheduie E/F: Creditors Who Have Unsecured Clalms page 6

 

Case 18-30703 Document 8 Fl|ed in TXSB on 03/07/18 Page 15 01 18

` Fi|| in this information to identify the case:

 

Debtor name TJK El‘iterprises, lnc.

Unlted States Bani<ruptcy Couri for inez SOUTHERN D|STH|CT OF TEXAS

Case number 18-30703 Cttapter 11 |:l Check if this is an
(if known) ' amended filing

 

Officia| Form 2066

Scheduie G: Executory Contracts and Unexpired Leases - 12/15
w

Be as complete and accurate as possible it more space is needed, copy and attach the additional page, numbering the entries
consecutive|y.

1. Does the debtor have any executory contracts or unexpired ieases?
g No. Checi< this box and tile this form with the court with the debtor's other schedules 'i`here is nothing else to report on this form.
Yes. FilE in all of the information below even it the contracts Ot' leases are listed on Scheduie A/B: Assets - Heal and Personal Property
(Officia| Form 206!\/8).

2. List alt contracts and unexpired leases State the name and mailing address for all other
parties with whom the debtor has an executory
contractor unexpired lease

Ofticiat Forrn 2056 Scheduie G: Executory Contracts and Unexpired Leases page 1

 

 

 

Case 18-30703 Document 8 Fl|ed in TXSB on 03/07/18 Page 16 01 18

'-_|'~“‘il|"in this information-to identify the case:

Debtor name TJK Enterprises, inc.

 

Unlted Siates Banl<ruptcy Couri for lhe: SOUTHEF|N D|STRICT OF TEXAS

Case number 18-30703 |:] Check it this is an
(lf known) amended filing

 

Ofticiai Form 206H
Scheduie H: Codebtors 12/15

Be as complete and accurate as possible ll more space is needed, copy the Additionai Page, numbering the entries
consecutiveiy. Attach the Additionai Page to this page.

 

1. Does the debtor have any codebtors?
g No. Check this box and submit this form to the court With the debtor’s other schedules Nottiing else needs to be reported on this form.

jj Yes

2. in Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
schedules of creditors, Schedutes D-G. include ali guarantors and co-ob§igors. tn Column 2, identify the creditor to whom the debt is
owed and each schedule on which the creditor is listed lt the codebtor is liable on a debt to more than one creditor, list each creditor
separately in Column 2.

 

 

Check ali schedules
Name lVlai||ng address Name ihafapp»'l/-`

0fflcial Fonn 206|-i Scheduie H: Codebtors page t

 

 

 

 

 

Case 18-30703 Document 8 Flied in TXSB on 03/07/18 Page 17 01 18

__Fiil in this information to identify the case:_

Debtor Name TJK Enterprises, inc.

 

Uniled States Bant<ruptcy Couri for the: SOUTHERN DlSTRlCT OF TEXAS

 

Case number (if known): 18'30703 ' ]:l Check ifthis is an
amended filing

 

 

Officiai Forrn 2063um
Surnmary of Assets and Liabiiities for Non-lndividuais 12/15

Summa_ry of Assets

1. Scheduie A/B: Assets--Fleal and Personal lF’re:),oeri‘y(Oi'ti<:ial Form ZOBAIB)

 

 

1a. Rea| property:
copy line as from schedule A/B m,,.,,..,,,..§g.£°_

 

 

1b. Totai personal property:
copy line QiA from schedule rue _(_$§M

 

 

ic. Totai of ali property
Copy fine 92 from Scheduie A/B nw

Sumrnary of Liabiiities

2. Scheduie D: Creditors Who Have Claims Secured by Property (Officla| Forrn 2069)
Copy the total dollar amount listed in Column A, Amount of ciaim, from line 3 of Scheduie D M.§_

 

 

 

 

3. Scheduie E/F: Creditors Who Have Unsecured Claims (Officiai Form ZOSEIF)

 

3a. Totai claim amounts of priority unsecured claims:
copy line ioisl claims nom Psn 1 from line 5a orsonedule are M§_

 

 

3b. Totai amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from tine 5b of Scheduie EIF + ____§.2.§.‘}.’.:°‘.9..?..§,1,..

 

 

 

4. Totai liabilities
Lines 2 + 3a + 3b ,_M

 

 

 

 

Otflcial Form ZOBSum Summary of Assets and Liabi|ities for Non-lndividua|s page 1

 

Case `18-30703 Document 8 Flied in TXSB on 03/07/18 Page 18 01 18

 

z=i:l in‘ihis information`.io'_`idenlify the ease en`d:_lnis iiiing:

Debtor Name TJK Enterprises, inc.

United States Bankruptcy Couri for lhe: SOUTHERN DlSTRlCT OF TEXAS

 

Case number 18-30703
(it known}

Officiai Form 202
Declaration Under Penaity of Perjury for Non-indlvidual Debtors 12/15

 

 

 

An individual who is authorized to acton behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and iiabilities, any other document that requires a declaration that is not included
in the document, and any amendments of those documents 'i'l'lls form must state the individuai's position or relationship to
the debtor, the identity ot the document, and the date. Banl-iruptcy Ru|es 1008 and 9011.

WAFiNlNG -- Banltruptcy fraud is a serious crime. Nlaking a false statement, concealing property, or obtaining money or
property by traud' in connection with a bankruptcy case can result in fines up to $500, 000 or imprisonment for up to 20 years, or
both. 18 U. S. C. §§ 152, 1341, 1519, and 3571.

- 'Declaration and signature

| am the presidentl another officer, or an authorized agent of the corporation; a member or an authorized agent ot the partnership;
or another individual serving as a representative of the debtor in this case.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and
correct:

Scheduie A/B.' Assets--Flea! and Personal Property (Official Form 206A)'B)

Scheduie D: Creditors Who Have Claims Secured by Property (Ofiicia| Form 2060)
Scheduie E/F: Creditors Who Have Unsecured Claims (Ofliciai Form 206E/F)
Scheduie G: Executory Contracts and Unexpl'red Leases (Officiai Form ZOSG)
Scheduie H.' Codebtcrs (foiciai Form ZOSH)

A Summary ofAssets and i_l'abr'll'l‘ies for Non-Indivl'duals (Officlal Form 206~Summary)

Amended Scheduie

 

Chapler 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Nol insiders
(Officia| Form 204}

DESE]HHHE

[] Other document that requires a declaration /,

 

 
 
   

t declare under penalty of perjury that the foregoing is ir

Executed on 3 [g' X

lVl/DIYYYY

 

 

lgn rec ` ividual signing on behalf of debtor

“l°homas Joseph Kennison
Prinied name

President
Position or relationship to debtor

Ofticiai Fonn 5202 Declarat|on Under Penalty of Perjury for Non-lndividual Debtors

 

